Case 9:18-cv-80176-BB Document 511-3 Entered on FLSD Docket 05/18/2020 Page 1 of 19


                                                                                                               EXHIBIT       €




                                                                                                                 DEF 41      r




              Fromr                        Dave Kleirnalr
              Sent:                        Wednesday,    1"6   January 2O!3 22:LS pM
              To:                          'Craig Wright'
              Subject:                     RE: Divorce


              I havethe funds cleared in Liberty ten days back, all 5 mill. Your systern is paid so no issues with
                                                                                                                   losihg
             access. I do wish you would   tell me why you needed a super computer, but this is your thing, your
             buslness and I wili stay out of it. The funds have cleared the debts in panarna so we
                                                                                                      can keep your
             systerns, going another six months.


             You do know that the cash would be handy for what you are doing? I can have the guys
                                                                                                       here accept the
             8TC'or even the Casino software as full payment if you like, not simply escrow.
                                                                                             Just give me the word
             and we can sell the wallet. you have it back, but the offer stands open.

             Erren   without the updates, the Panama guys will offer you 10M UsD with my cut of course for handling
                                                                                                                    it
             for the Sports Book and Casino software.

            Craig, I do recommend that you stick with Coin-Exch for now. The iclea of automated
                                                                                                smart
            systems controlling money is not something many people will get and that fewer will applaud
                                                                                                        Vou for.

            Dave.


            From; Cralg Wright tlng$Sjiaggl
            Sentl Tuesday, 15January 2013 9:15 pM
            To: Craig Wright
            Subject: RE: Divorce

            AllOk.

            Can you use any of the Strassan funds before I get the     other to you?

            lf you are using Silk road to get people, then I cannot see why Liberty is an issue.


         c

         Fromr Dave Kleirnan [fnelLUf:daCe1[clalglleg11i3.cgjd
        Sent: Tuesday, 15 JanuarV 2013 09:15 pM
        To: 'Craig S Wright'
        Subject: RE: Divorce
        I assume this is what you need?


        I   have the records in WK in a TC clrlve. Nothing comes out, but I have the SR user names if this
                                                                                                           is needed.
        Allgood.

        Are you happy with the cost analysis below?




CONFIDENTIAL                                                                                                            DEF 00000041
Case 9:18-cv-80176-BB Document 511-3 Entered on FLSD Docket 05/18/2020 Page 2 of 19




              Dave.


             Fr   om :   C   ra i g S W   r ig h   t   I   m.r       i I   t   o   :   c r a iq s   w   r. i   p"b!@_a_Sl1.qS ]
             Sent: Tuesday, 08 January 2013 t7:57 pM
             To:'Dave Kleiman'
             Subject: RE: Divorce
             Well,
             You know my shit. What do I make and tell them for costs? CoCoMoll?

             Craig


             Fro m : Da ve K e im a n I rl a i ta d Aye_@-c]AyS!1g.!nnn.!S nl I
                                   I                             I             :


             Sent: Tuesday, 0B January 2013 11:48 PM
             Tol 'Craig S Wright'
             Subject: RE: Divorce

             Craig, you sound like my ex                                       wife;)

         I am good. My phones, drives and about everything else are encrypted and protected better than you
         are. Silk road is not all drugs you know. There is nothing that does me publically and all the holdings will
         be off shortly.

         We need to arrange something soon. Things are a little t'ght, Nothing bacl, I have been wrrrking in the
         Vet but the bills are coming up in USD and everyone does not share your sentiments. The bank likes
         repayments irr paper.

         I   have used lep//rlpuQ$lalrlsi.dadueQg_0lgf}l1ir,vorrhil_3p.crf

         The company records have a breakdown, all is accounted.

         You like maths, I have the following equation to calculate its worth: T + R (H) + v+v (E), where:

              T=The      total costs involved for development
              R=The hourly rate
              H=Hours worked on the project
              V=The value of a similar product plus an undetermined percentage based on the new product's
        uniqueness
              E=A    client's expected use and number of users

        You want a system that can handle a million ph-rs r-rsers. Well the simple view of this is, we have spent
        350k BTc on this. Right now, this is all Bitcoin, and O/S through the trust, but the answer is the end cost.

        Wedoneedtotalkaboutsomerealworlduse. lcanrlotspendall lneedtoliveonusingBitcoin alone.

        Dave




CONFIDENTIAL                                                                                                                      DEF 00000042
Case 9:18-cv-80176-BB Document 511-3 Entered on FLSD Docket 05/18/2020 Page 3 of 19




              "High achievement al'ways takes place in the framework of high expectation."
              Jack Kinder


              From: Craig S Wright Irnaillo:crais@_.]-
              Sent: Tuesday, 08 January 20t3 77:22 PM
              To:'Dave Kleiman'
              Subject: RE: Divorce

              Hey,
              Do you have any other people who can move this Wipe project                       f orward/


          Jens seems to wantto get a lot for nothing, I do not mind the work and the [paper, but I do not want to
          do commercial research for nix.

          Speaking of that, are we all good with the values and the contract? I know you have been paying people
          from Bitcoin in your own wallet, is this enough to account for it all? lt has been a shitload of work.


          lrEps ://s lkroady"b5 piz3 r.on
                       i                          i   o   lr.to/   ?


          I   know there are those who will code there for BTC, and I know Tor is private, but do I need to lecture
         you?

         csw


         From: Dave Klelman
         Sent: Friday, 7 September 2012 9:45 PM
         To: 'Craig Wright'
         Subject: Re: Divorce

         -----BEGIN PGP SIGN ED M ESSAGE-----
         Hash: SHAl


         My good sir,
         5o, we are in agreement.

        You have the various BAA projects and I can keep all ofthe bitcoin I have sent to Panama,

        You set the exchange up in Australia and I get 10%                         af the conrpany to be issuecl as 80/20 between
        tnyself and my father when it is running.

        It is confirmed that I have B 320,832.1and change. As agreed, I will not tell yoit who the others I have
        used here in the US are. We will exchange soon. You know this is a great opportunity for you to come
        over with that lady of yours and to see me. lt needs to be soon. Too long.

        Respectfully,
        Dave Kleirnan - |i.iri.,i,i,1t1-.rr.i-;.7.{..tiijplji!:ii_,i,.!li1,._11 Li. irrrii




CONFIDENTIAL                                                                                                                        DEF_00000043
Case 9:18-cv-80176-BB Document 511-3 Entered on FLSD Docket 05/18/2020 Page 4 of 19




          4371 Northlake Blvd #314
          Palm Beach Gardens, F133410
          561.310.8801
          -----BEGIN PGP SIGNATURE-----
          Version: GnUPG vz.O.2A {MineW32)

          iQGcBAEBAgAG BQJTFp5cAAoJ EAQV5sviP8wtY4 EMAMQBtI UsrbQsdVpw lSgdBa0r.r
          OpWsHWxwnWDakbZoP/5nzKSJm bZUXU+4p4AhYAlJ+sbGP DLTEMoHIR/hjh FO73C8
          83 BnP9nxAArYScaGOiYHAvf QHJSvLT 227 Ab3 BzulKLLjGLHcc8d0yrtL NBdl0i Ev
          O/5Gvrh89wmYZoMm 00L54sZXCPtCzz58 Up0bol h Er4J lfZlqe NxYe UsCbg 97 CIOT
          otG CPLol.Twm7 FTzLUE+Oaow9m8C93XbU rw7 cCn2s/ yZUzH RdT4NxBlgezr0LbAha
          A4pM bZgink15ZLcA+lBpOifcq4yTH IYBPBp4LGjRGTMtI+qb2WLrhdadmzuqljAJ
          uvOtxrAYuYw0gd+HLAkUblmjvCM Nmysi2X09AzH NSVmKYA6TT3Jp/hKeLTZHT Ry /
          GTecMFpzd3UG+voTAeM UwuTjl/yYEyCqAQLhjRxcUYDqHwi2OASM ELlzE6c3qs+F
          N   geXGcPfxjAD2g   N U   M   U   1/AIVN bpxyYG i k6Fd h3ed dQA==
         =Kdea
         --..-END PGP SIGNATURE...,-




CONFIDENTIAL                                                                          DEF_00000044
   Case 9:18-cv-80176-BB Document 511-3 Entered on FLSD Docket 05/18/2020 Page 5 of 19

                                                                                                                                                                                              EXHIBIT        E




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    St'nt:        SatLrrday, October 12,2013 4:47                     AM                                                                                                                     Defense 45457   z
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   Stephen D'Emllio
   Dl rector

   Commercial Litigation
   FD Commercial Lawyers
   Level 3, 2 Bligh Street, Sydney NSW 2000 Direct dial: +61'29221'72891 Fax:+61'2922186Q1'
   Mobile:0412 548 791




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    fSffiS                        #c{irr:iaral                {"lc':,   !'vu e+'lr{,

   From: ltalia, Mark Inrailto:Mark.ltalia@ato.gov.au]
   Sent: Wednesday,9 october 20132:L4 PM
   To: Craig S Wright
   Subject: Notification of audlt ABN 48 164 068 348

   Hi Craiq,


   Please refer lo our notification to retain refund letler

   <<Nolify - refund relained.pdf>>


   Regards


   Mark Italia
   lndirect Tax I Refund Integrity
   Australian Taxation Office
   Phone 03 9275 4243




CONFIDENTIAL                                                                                                                                                                                       DEF_00045457
   Case 9:18-cv-80176-BB Document 511-3 Entered on FLSD Docket 05/18/2020 Page 6 of 19


    r\l'C C^ntril^ry I      Working for all Australians




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CONFIDENTIAL                                                                                                                                               DEF 00045458
Case 9:18-cv-80176-BB Document 511-3 Entered on FLSD Docket 05/18/2020 Page 7 of 19

                                                                                                  EXHIBIT        E




                                                                                                 Defense 45461

                                         Statutory Declaration
                                OATHS ACT 1900, NSW, EIGHTH SCHEDULE



          I, Stephen D'Emilio, of Level 3, 2 Bligh Street, Sydney, in the State of New South Wales,
          Solicitor, do solemnly and sincerely declare ihat:

          1.     I am the solicitor acting for Mr Craig Wright and Hotwire Pre-emp{ive lntelligence Pty
                 Ltd.


          2.     On 11 October 2013, Mr Wright came into my office and showed me his HTC mobile
                 phone (Wright mobile).

          3.     On the screen of the Wright mobile, I viewed and verified the following Bitcoin wallet
                 addresses:

                 (i)       l JzzLXxuwn45S9HvBqAhkhWa3GhyG3zrn64;

                 (ii)      l68Rc6wJdL4chWhEUQwyywi4sHub6erf2s;

                 (iii)     lFeexV6bAHb8ybzjqaMjJrcCrHGW9sb6uF;
                 (iv)      l933phfhK3ZgFQNLGSDXvqCn32k2buXYBa;and
                 (v)       l6couTHtOWjTzuFyDBnht9hmvXytg6XdW (Bitcoin walletaddresses).

         4.      I viewed the Bitcoin wallet addresses by scrolling down the screen on the Wright
                 mobile,


         5.      lt appeared to me that if Mr Wright wanted to, he could control all of, and            make
                 iransactions in, the Bitcoin wallet addresses,


         6.      I make this solemn declaration conscientiously believing the same to be true and by
                 virtue of the provisions of the Oaths Act   1900. ,/ii /'   \
                                                                                       il
                                                                                  r!
                                                                                  I'
         Declared at Sydney on 1 1 October 2013
                                                                                  lr
                                                                                  ii
                                                                                  i


                                                                    !
                                                                                  i.i *.-:   -

                                                                                 phen D'Emilio
         in the presence of an authorised witness, who states:

         l, Adrian Fong, a solicitor cefiify the following matters concerning the making of this statutory
         declaration by the person who made it:




CONFIDENTIAL                                                                                            DEF 00045461
Case 9:18-cv-80176-BB Document 511-3 Entered on FLSD Docket 05/18/2020 Page 8 of 19




                  (i)    I saw the face of the person;

                  (ii)   I have known the person for at least 12 months.




                    ong                                                    !

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                                                                           l    l
                                                                           ,l
          1   1 October 2013                                                    I
                                                                                L

                                                                                I




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CONFIDENTIAL                                                                        DEF 00045462
Case 9:18-cv-80176-BB Document 511-3 Entered on FLSD Docket 05/18/2020 Page 9 of 19

        EXHIBIT                                                                                                                                          Invoirc
    Defense 51010                           tr\
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                                   Panama Cily,
                                                                                                                                Email: rtl!rckl:UaIitll!:jj1iu5Jir,(:t,;Jli:ij"dgi0
                                   Panarna                                                                                      Tel:   507.832..7667                            Fax:507.303.09768
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                       Attn:           CraiS            Wr;ghl                               Code I DEMORGAN                    Attni     Craig Wright                          Codel ISIGNIA                  SFR
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                                       North Ryde NSW 2072                                                                                North Ryde NSW 2072
                       Tel:            6I417683914                                                                              Tel:                                               Faxl
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                       Order:          00310233                                      Order Dater f$-l"1ar-2014                  Ship Ref: 1Z{nQ696651

                      The following Sale{s) have been provisioned
                      to:t Sale# 1L24855 lte$t Contr.ict 156G                                           Sale
                          Desc:
                      Invoice                             Signia 0rder 5031233
                      Code                                Doscription                                                                          Ordered    Suppli€d           Prics                    Subtotal
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                      Your payfidnt rolerence                         #             2149395
                      XB'I Deposit:           1   l.l   R42TZ2TgSAQUiLEyTTbVTrrqiSZbadVie
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CONFIDENTIAL                                                                                                                                                                           DEF 00051010
     Case 9:18-cv-80176-BB Document 511-3 Entered on FLSD Docket 05/18/2020 Page 10 of 19
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            CONFIDENTIAL                                                                                                                                            DEF 00051011
Case 9:18-cv-80176-BB Document 511-3 Entered on FLSD Docket 05/18/2020 Page 11 of 19




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                                                                                                           Republic of Panama



                                                                                                                             EXHIBIT           E




     lnvoice #00701208                                                                                                     Defense 51013
                                                                                                                                               .E




     lnvoice Date:25th May 2015
     Due Date:29th May 2015



     lnvoiced To
     Panopticrypt Pty Ltd c/o
     DeMorgan (Wright Family Trust)
     ATTN: Ramona Watts
     43 St Johns Ave
     Gordon, New South Wales,2072
     Australia



                                                         Description                                                          Total
     Amended contract as per Clayton Utz (24 months continued service)                                                    x8T.68.000,00


                                                                                                          Sub Total       x8T.68.000,00
                                                                                                             Crcdit         x8T.0,00
                                                                                                              Total   ,   X8T.68.000,00    i




     Transactions

           Transaction Date                            Gateway                           Transaction lD                     Amount
             25th May 2015                        Mail ln Payment                                                         xBT.68 000.00

                                                                                                           Balance          x8T.0,00



                                                              PDF Generated on 26th May 201 5




 CONFIDENTIAL                                                                                                                     DEF 00051013
  Case 9:18-cv-80176-BB Document 511-3 Entered on FLSD Docket 05/18/2020 Page 12 of 19
                                                                                                                     EXHIBIT

                                                                                                                   Defense 1588028
   From:                HighSecured Iinfo@highsecured.com]
   Se   nt:             5/3/20t5 2:16:22 AM
  To:                   asommer@ clayton utz.com
   CC:                  Craig S Wright fcraig.wright@hotwirepe.com];   Ramona Watts Iramona.watts@hotwirepe.com]
  Subject               Privilege Asserted




   -----BEGIN         PGP SIGNED MESSAGE-----
   Hash: sHAl
   Hello Mr         Sommer,
  We have                             to one of the government people on the list on. Wright-supplied us.
                ob'liged by sending an email
  our understanding-is that-this person was in charge of the engagement. Please note, we r^rill not reply to
  this individual even having sent the prior enail.
  we hence believe we have confirmed contact w'ith    or. wright.
  It is acknowledged that DeMorgan prov'ided for the payment of invo'ice #00649395 being the sum of 60,000
  BTC. This payment was completed on 03/10/2014 with payment reference # 11-24855 and contract 1566. we
  would prefbr-that a copy bf the fu1'l contract is not suppTied to your governnent officials if th'is has
  not a'l ready occurred. we will send a verificat'i on us'i ng sHA 256 of thi s file to you if the
  acknowledgement of the'invoice is not sufficient.
  The 60,OOO BTc was receipted into the address lHR4zTzzTgsAQUiLEyTTbWhqi5zbadvie as full consideration
  for the 'invoice 00649395 dated O3/70/L4.
  This invoice was for:
  0i-L.180.1001          IaaS   agreement   2013-2014
  01-1.180.1002          IaaS   agreement   2014-2015
  0l-L.1B0.1004          IaaS   agreement   20L5-2016
  011.180.1005           IaaS   agreement   2016-2017

  The order was guaranteed by Signja under order 5031233 dated 03,/08/2014.
  p'lease infornr usif you requ'ire further information in order to confirm the contract?
  Dr. Wright has used a company, DeMorgan Ltd in Panama for the negotiations of tltis agreement.
  The system was ava'i labl e to Dr. Wright in late April 2014. Dr. Wright_is curretrt'l y in the process of
  negotiating for naintenance of this systenl with us, but at the time of the agreement this was a bare
  nretal IaaS contract for the Xeon Phi hosts and supportirrg infrastructure.
  rt is again asserted that werdo not wish to dea'l dinectly with any official or representative of your
  gove nnnent.

  Regards,
  Ritzel a De Grac'i a ,/ Xighsecured
  -----BEGIN          PGP SIGNATURE-----
  Vers'i      on:   GnUPG v2

  'i
       QGcBAEBAgAGBQ]VRYKUAAoJ       EPECLOs LoRCyUNAL,/i R9yRDCSGB6bMOb C/ SZXKhi
  5cccdJwl,/Nnddj'l           /neVtwspy / cbB4Bj rci 3 kgj hhrBj +I-GYMAI mxxvi qt
                          hBl-NWbB
  sch NexqMcca+Yclgx5 c66ntkvEGj AeJ 4 6Bs al kr I k 2 K1+2 PX4Y3 kvsx9ocd 2oxcS
  scooeozRr lFpzA2AelcgoYQWzfhOveceog /ZYi EpTDVkRIP9 pgxRbceazlyf+kco
  B3j G]-Mj u2 EEKBPo.i BvyBcYpDcQw3BTwsePgvlNYI rol p3 3Al glK2Hnxuoxki gi N9
  xvLuhxtt,/rauTs0llmjroozsvNYRtcccqRTl(dMnLr,/xl\rj6aMzchl<kcwT9PNDdqEl                r
  vHoE,/+ATa8e krq     lnsi I 1n e B+wol-pBAzYyve E6H u02 i Fs 2 6 3 mPo lG5 u0ovhi 04m80
  7AuR2 30dMFxkHckqfol hh 2 K+BP\^/c6oTA5Rao2 RDzq qPu971 pAb+up5 EBwxsbbbri
  5 u j +si I tcrd+nviufeM/9KdvBz6Hvl<YEsqrl<9rnzu       rg==
  =zEQL
  --___END PGP SIGNATURE_----




CONFIDENTIAL                                                                                                             DEF 01588028
  Case 9:18-cv-80176-BB Document 511-3 Entered on FLSD Docket 05/18/2020 Page 13 of 19
                                                                         EXHIBIT                                                                                               E




                                                                                                                                                            Defense 1616105 i
   From:                     Ritzela De Gracia IRitzela De Gracia <ritzela@hiShsecured.net>]
   Sent:                     4/28/2OI512:02:40 AM
   To:                       Andrew Sommer <asommer@claytonutz.com>; Heydon Miller <hdmiller@level22.com.au>; Ranlona Watts
   CC:                       Craig S Wright
   Subject                   Email contact



   Hello,

   As noted, all lurther emails will be encrypted. My key is available fiorn the'N,IIT server for verification. This
   message is not signed, but all future communications will be.

   https./ipsp.nrit.                      ks/l ookLro? search:ri tzel a9l040h i sh s                                     net&on:index

   A *4rois history search will show that I have been acting as the domain contact from February 2008. As such, I
   believe I hold sufficient history with our cornpany to satisfy Dr Wrights needs in verification.

   I   will confirm           the contract for DrWright. We                            will confirm delivery of the services. We will not                     discuss these
   unless the communication is encrypted.

  Dr Wright has provided your contacts as his representative. Any communications with a government authority
  rviil be through Dr Wright's legal advisers and is to be considered privileged and only for use in the existing
  rratter.

  We will:

   - Confinn the contract

   - Conf-rrm payment

   - Confim the receipt of the Bitcoin as payment

   - Confinn the involvement of DelVlorgan Ltd in Panama

   - Confirm the dates and delivery of the services

  Stuart Greatbanks has been with HighSecured for over a decade. Fle will respond by email                                                               if this is required. He
  will respond to a single email and no further.

  Thank you.

  Ritzela De Gracia

  -----BEGIN PGP PUBLIC KEY BLOCK.----
  Version: GnuPG v2

  mQGNBEi.vnxPOBDACUggVybVI(1lVIbDiSv6HxNlFulIUuZZcDrmmqKsu1tpQaf3IVIyLBNTT
                                    1 qViIunP6tIlDDDbZyHl QZ UFPzQol
  IFIFI p0z 1 v65f.6EPz+lbxDl A2Ga4xrx5zwcT
  0w p   9N   r-r   st_q c S i J i FI 1 4 h   D   6a   T I 9 o Cl RM N   u   * * orv i 1 Q 3 s/IzI ctj   au   x ej   1   j t2 O v N   hq   wb tP q i\l
  R6HctlizAsQXISeCNBk2piAC6lKr08WYT'irLLSX45JNSVCqONwjxDOxFrzFInGFIGwOib
  820eefLrQ3pPTUiShscQE+iIrbWkvwAEATLraSXwAfrgkGolcJDaxCNBkAxt/4GHBIVI




CONFIDENTIAL                                                                                                                                                        DEF 0'1616105
  Case 9:18-cv-80176-BB Document 511-3 Entered on FLSD Docket 05/18/2020 Page 14 of 19


   TrnsSrWLKrlytilyp2WtyYvq6XJH9W5DW0z2T3N5sxrhbGvWI3bQkn3iGRrncZcQIrPl
   uSJbR3+yiDt6B9q5JfraP7Y4 I UGs6eYbnv2frFW3 6GYuzGgaF+QSBZoUShFfAXI 3
   atzAni pCDBlcVbr.vEndwPxuj 6fGoMxh3FO l ZHT4ClxkV2ff lkAl+.iZV 1GGhmKrXB 5
   qnXclhTbXBnAfnUAEQEAAb SLUml OemVsY SBEZSBHcrnFj aWEgKFNpbnrNl IDhvMDQg
   SGInaCBTZWN I cmVkaGFzIGRl dmVsb3BlZCBhlHJl cHVOYXRpb24gZm9yIHB yb3Zp
   ZGluZyB\ aGUgYmVzdCBpbiBvZ mZzaG9yZSB ob3NOaW 5nLi kgPI-IJpdHpl bGFAaGln
   aHNl Y 3 VyZWQub mV0PokBuQQTAQIAIwUC TCfE/QIb AwcLC QgHAwIBB htlIAgkKCwQW
  AgMBAh4BAheAAAoJEPECLOsLoRCy5bgLlRzRm8yotpVj PIj UyPqqs I F Z twl a4W h1
  abmRXZlwlkb4Fln2+jpm I F 1yB9QF+9PiBLKChDtJ sGSFEeMyW+rnk4t31 8ntYouYX
  vqNTAO0lRqZseNVITV 64ibETEIlFZ5jEllD I dt(vl2EslUh8SIkcXWye4WorP3rm UQ3
  gTcB d JMGgtl0f/6eR4bMv k83 G/b JOsqY S qMo5YopuZPMocv *Z smNeITaffnkfECRIVI
  s+GKEhdFXm5O/5 SVCRzszDQa2msmcfbBj cvD34SsUvAp+P I n6JrVDbxExZ9Gej y8
  X1l3 4CXv2gUvev6hJgElUX43IRYQdOO8y I ecXCyXqi 3Ung5zHwrSzj ll aa0LTOwj N
  Xu UyzkgDGxQfi MkLN Nrl TJG8ZCDByT0J OkHDmzQV a8 G/ylwDq N 0ahZNl6uvp0T4OT
  A3lVJhrFIDgdVzDJVr,vhVIdLVqdaCUYe3aTb9ShgivlllvlzSDO/GhhAWTl9LaeZgl36By
  FUT3 P8 orj F 2XZuQuaftllzdT Cc3tmPZi i TkBj QRMJ8T9AQwATFj VQ9HUCRmj 5 XyD
  Qh gvwRKrthk[J3lF 7 ZxFC3 gLWLSd/hTJtShRq9l9o614SK pl.29i exy9x Bi 6k AvSpH
  hJVQPYbyExtCfl I RSocj yiQhRRDpI(exuT3RxWnEFSHtzitkPoj Aa6Yyej I qy6GHU
  XfhxXuoSW)O4TlvseijmQekRfduv+tl(PyJosOHoXjr9gWtkU8mvRIvI6otiVhi5Ihvs
  QDPLMOieKgB0tvAWj h6sgKFBQWepiFd I S+ lWm4rpVTWYc5IU Zjgz2rY ZW 1l I rT a
  xW2jxN5OKWcre2 I byskylDSD6j eq2Q+El240KGnNuLDCGel\4FbYebPNbDNeHwOAGg
  dA fb6SN0F eTb auGAVxQ4 gVvornK Ocm oSl Eb dfuBzndnlVIoTrICBb VxkD 5EGND+7I24
  GpCq 5RJM4rAWs0Upt+o3bysz 1 AcaceW5LaCGeHNOVcW izrMhXF Sm Gfb TCxl nr0f9
  8rnPB paA 7MN5E6 S St 4ZHftheqyHVQ gzT69hl VCvWoxJB oBPTABEBAAGJAZ BEGAEC
  AAkIlAkwnxP0CGwwACgkQSQIs6wuhELIb0AvSDOqTTZOVylQ5ku4l0rvW                l rr4W-r-bXrn
  1 AVvSLNiwh I Uw5EqSiEvWUj oOsi[IDhWXTpft4i9HuYVoucL 1 CWZzs+fwlW4BTn I +

  WGQgyj TOaDkkpDd2e5 I NfwhOZY2NTgPDryDIb6MOOwScivCbc2j S2C6wZTBLtsTT
  QmbNsZGYx QiRr+C uJlFFq8t+64XP2wFkr0Vcfzf.6F60B C ft4Ju A uYD A k sgr3 RB kV
  GAtXnFHh+XOE3C2kWq3gTzRclOnbTA5IvIgBfelv[BB6dLcFLgBUYIdw2pCPOPvQz4SnO
  SD 5 sNIyTrnGl 4+QQoq8 aZyomvRri eRK74weJC6fMWG9x3M6ow476Wg+fE4RDpzbcNs
  S 5 6tyzM+x 9DOvI(ogegXsQx2zDXj Y 22X4 1 cYUy zwY zdqY ckJC B 9Dt/Ls4v0R3 ItrVgrn

  DFIdCBAzq4OoLWOhNsAEPF4eTXF uiLazujDkhnonpfWPkqdWgT I 1 0 a60bNy3 B+ ecT
  ChFl V I 3 Y+BL6aSDN9/FOxxW4GoKoGxsCAi 5z
  :bFGQ
  -----END PGP PUBLIC KEY BLOCK-----




CONFIDENTIAL                                                                               DEF 016'16106
  Case 9:18-cv-80176-BB Document 511-3 Entered on FLSD Docket 05/18/2020 Page 15 of 19
                                                                        EXHIBIT

                                                                                                         Defense 1591420
      From         Ritzela De Gracia Iritzela@highsecured.net]
      Se   nt:     4/28/2OI51:1O:23 AM
      To:          Craig S Wright lcraig.wright@hotwirepe.comJ; Ramona Watts Iramona.watts@)hotwirepe.com]; Heydon Miller
                   [hdmiller@level22.com.au]; Andrew SommPr Iasommer@claytonutz.com]
      Subject      Bitmessage



      -----BEGiN PGP SIGNED MESSAGE-----
   Hash: SHAI

      Hello,

      We fbrmally acknowledge that the Bit-message address following is associated with HighSecure.

      BM-Z:\N jjZtTJKvn szN45 8cEiPi6XdkFrNLTE3

   We noted that this is a corporate address and this does not reflect the individual using the address at any
   particular time.

  We further note that this information is offered under privilege and all rights are maintained and assefted.

  We will not validate this information further nor will we respond to queries on this matter again. This signature
  is the only correspondence to this effect we shall offer.

  Thank you,

  Ritzela De Gracia

  -----BEGIN PGP SIGNATURE-----
  Version: GnuPG v2

  i   Q    GcB AEB A gAGB QJVPI26AAoJEPECLOsLoRC    yHswMA IcKXyThDP0GY2YDfNINUnZh
   Lab96qDnwxQewgbUl SLqqFRsnJ4p4cvBFGXwIlZ9K9p I b0I-It70YMpj 1 ffl LIBiDTk
   WlRkHj CewaFgmIBj stj 5 gbl+Wvj kV2hPxIl dVj TQO/Y4ukeTsTQwj 2bPB i 8/j 6dl
   EM4nqtE I 9M/RGMSNIezDj 13A0eo2hj B g4uEsOcoa4Pxq+j RQ+EbOM 1 iYYmuhTfkWY
   I DxmFIFEp2C I eJ I xJHSYZAK0+xYXNBLOwTiZSBUe85 7 lkpT szP s7ElsjKhRm3 l/YX

   ntuf pj XeNl kd7 7 9 Shuagqlc/M+KgS gmcq3 Q4kQTxztDnGpTtBEsbOToNl 7k3 eada
  j nFz3 Ns+R2MIvIINWIUVpevqfNQFMIHKK sFH 4psj dtZP2Il qH2TkoG4 n B VQnnWVsd/s
   e/J7D IrNT/d9k0+B BKr0+kPqDHrn SVsWfK sb ew2 OBu6TrntXiLIaP/ft hFD zgflZT
   9NTz8 k0RO 1 QuWZ0x qpUXj psp<UgC gfi fNIm 6ElK n Vh g::
  :N8U6
  -----END PGP S1GNATURE-----




CONFIDENTIAL                                                                                                      DEF 01591420
  Case 9:18-cv-80176-BB Document 511-3 Entered on FLSD Docket 05/18/2020 Page 16 of 19

                                                                                                                               EXHIBIT

   From                          H   ighSecured Iinfo@highsecured.com]                                                       Defense 1587950
   Sent:                         5B/2AI51:41:00 AM
   To:                           asomrner@cl ayton utz.com
   CC:                           Craig S Wright lcraig.wright@hotwirepe.com];   Ramona Watts Iramona.watts@hotwirepe.com];
                                 Arna. Synnot@ato. gov.au
   Subject                       Privilege Asserted



   .--*-BEGIN                  PGP SIGNED MESSAGE-----
   Hash: sHAl
   Hello Mr sommer,
     will not send any further replies to your government other than through yourself.
   tr,te

  This email is sent to yourself and to one of the government persona'l we have been informed of. No further
  conmun i cati ons wi l l fo'l l ow outsi de of those through you.

  We will send one enrail to you that you may forlard to the required parties under the provision that this
  communication is used solely for the validation of the services offers to Dr. Craig Stephen wright from
  our company.
  We       formally acknowledge that the Bit-rnessage address following is associated with Highsecured.
   BN4-2 c\^l   j j zt     7J Kvn szN45 BcE.i   Pi 6xd kFrNLT E3

  we noted  that this is a corporate address and tlris does not reflect the individual using the address at
   any particu'l ar ti nre.

  tve further note that this information is offered under privilege and all rights are maintained and
  asse rted        .



  An email will be sent to Mr Sommer later today. In this email we will verify the contract. This will be
  through the sending of a sHA256 hash that can be used to validate the contract have not been altered.
  we will confirm payment and the Bitcoin rece'ived. These addresses are privileged.
  This email and the following one verify'ing the contract and consideration are the only two we authorise
  to be slrared arrd we limit the use these are allowed. We maintain and asscrt all rights on thcsc
  correspondences.
  Regards,
  Highsecured
   -._--BEGTN PGP SIGNATURE-----
  Vers'i    on:        GnUPG v2

  'i
       QGcBAEBAgAGBQJ VRXuhAAoJ EPECLOs                 LoRCyf+YL/1p FYyuHve g Uu'i e aTLp6 Fypm
  s Hwq lsyAXUEXZ4vvl+sLEMIwxcYTfFn qnnozQg i ai Q3 j eoi sp r 1 zo 5 zlvETh sp 5 s
  RqsAGaz3 LUn nww+l( kG5 oHgdvwywcTdMj ctcbhFz46YZznc2 DWfvl(pxMt kYi b,/Yck
  pshxlli EHyqrwousl vEj j nxvsyoY'lrc: awnl /gg1 r jv3qci zvNBvbsQpvRYHG.iA
  ri Qgcznidvgu sxAUXvo NoXNHli eDwDyt6Nwav kr Koll( i kzu cy2 Imh e 2QlH,/HMNeg 3
  +cMonxAkD            3   h   p6oLb2PzzLJdmswdyvl TpcRz hwkTz6QmNpAl!\/cn l"PPyJ m0rq 4Z+s k
  Awi stU 7fn Fwcz+k0wi e s kmRpTd rJ 8Kbxzk0dbQs so rnv rH+wcoGI4maoTtcSN5 Z
                       u
  +Bne rzu0rrotDpq tuARraK 5TglhtDQK kHx4 FNMo 9Tu feWgi n cmh s,/4Cg K 5 4g B 3 zU
  cHrppo62 PMHWSI oPi tHkNKXcwg j EyElj 09762 j Yswg==
  =NxBb
  .----END             PGP SIGNATURE-----




CONFIDENTIAL                                                                                                                       DEF 01587950
  Case 9:18-cv-80176-BB Document 511-3 Entered on FLSD Docket 05/18/2020 Page 17 of 19

                                                                                                                          EXHIBIT

   From:             Ritzela De Gracia Iritzela@highsecured.net]                                                       Defense 1588062
   Se   nt:          5/3A/2OL5 5:50:27 AM
   To:               Sommer, Andrew Iasommer@claytonutz.com]
   CC:               Accounts [accounts@hotwirepe.com]; Craig S Wright Icraig.wright@hotwirepe.com]
   Subject:          Letter
   Attachments:      Highsecured -DR.txt; Highsecured 2,txt.sig; Highsecured -DR.txt.sig; Highsecured.txt; Highsecured.txt.sig;
                     Highsecured 2.txt



   VIr Somrrer,

   Please     find our letter

   We have attached it, forwarded and sent it in many fonnats.               I   am sure you   will   be able to interpret one.       If not Dr
   Wright has a use here as well.

   Rizela

              On VIay 26,2015 at 6:35 AM "Sommer, Andrew" {asommer@claytonutz.com> wrote


              Dear HighSecured

              We   will   take this up with ollr contacts at the ATO.

              Unforlunately, whilst we can request they desist, we cannot control their actions

              We hope you understand our limitations in this regard.

              I{egards




              Anclrew Sommer, Partner
              Cla,vton Utz
              Level 15, 1 Bli-eh Street, Sydney NSW 2000 ALrstfalia lD +612 9353 4837 | F +612 8220 6100                          |


              N4 +614 I | 72t 286     |



              asommer(@claytonutz.com lwww.claytonutz.corn <http://wwrv.claytonutz.com/>




              On2610512015 11:03 am, "Hi-qhSecured" <cl.rockwell@highsecurecl.com) wrote


              >Hello,
              >We appoligise for the errors, we harre been having a number of probes to the emails                  r,ve shared
              addresses rvitlt.




CONFIDENTIAL                                                                                                                  DEF 01588062
  Case 9:18-cv-80176-BB Document 511-3 Entered on FLSD Docket 05/18/2020 Page 18 of 19



         >The range of addresses we have been probed by is 180.149.192.0116.

         >As can be seen from the link below, this appears to be a range owned by the Ar-rstralian
         ar"rthorities.
         >https //wrwv.robtex. org/en/advi sory/dns/aulgov
                    :                                        I atol   nsl   gl

         >We are leaving sorne of the mail forwarders disablecl. We have expressly requested that we are
         not contacted other than under the arrangement we set with Dr Wright This is a breach in our
         view of that arrangement fiom your authorities.

         >We respectfully request that your authorities respect International Cybercrime l,aws and do not
         attempt to access our systems again. We will tro respond to their requests.

         >Ihis unwarranted attack on oLlr systems   has been recorded.

         )We cannot condone this oppresive action from your government. We request that you ensure
         they stop this action immediately.

         >Regards,
         >D Rockr.vell

        >-..--BEGIN PGP SIGNED IV{ESSAGE-----
        >Hash: SHA256

        >Hel1o,
        >We appoligise for the errors, we have been having a number of probes to the ernails rve shared
        addresses rvith.
        )>

        >Tlre range of addresses we have been probed by is 180.149.192.0116.

        >As can be seen from the link below, this appears to be a range owned by the Australian
        authorities.
        >http s //www. rob tex. orglen/advi so ry I dnsI au I gov I ato/ nsl gl
                :




        >We are leaving some of the mail forwarders disabled. We have expressly requested that we are
        not contacted other than under the arrangenrent we set with Dr Wright. This is a breach in our
        view of that arrangement fi'om your authorities

        >We respectt.ully reqr,rest that your authorities respect International Cybercrime Laws and do not
        attempt to access our systems
        >again. We will no respond to their requests.
        :'
        >This unwarranted attack on our systems has been recorded.

        >We cannot condone this oppresive action from ;,s111government. We request that      v-ou ensure
        they stop this action immediateiy.

        >Regards,
        >D Rockwell
        >-----BEG]N PGP SIGNATT]RE-.--.
        >Version: GnuPG v2



CONFIDENTIAL                                                                                               DEF_01588063
  Case 9:18-cv-80176-BB Document 511-3 Entered on FLSD Docket 05/18/2020 Page 19 of 19



         >iF4EAREIAAYFAI Vj xWYAC gkQA9q 5 oG7 eN5b JFQD/VTV5 842QODj QzZcyRet/Yox O
         >vqnGWJzxtwARlKB AUTkNjt6amPWQzSZVRUs83 QpeGrnnboaFgrTTpUFvhqc3 Fdt I
         >:ZPTL
         >--..-END PGP SICNATIJRE.---.




CONFIDENTIAL                                                                           DEF 01588064
